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                                   4                             IN THE UNITED STATES DISTRICT COURT

                                   5                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                   6                                                             Case No. 20-cv-03919 CW
                                         IN RE: COLLEGE ATHLETE NIL
                                   7     LITIGATION                                              ORDER REGARDING STIPULATION
                                                                                                 TO MODIFY CASE SCHEDULE
                                   8

                                   9
                                                                                                 (Re: Dkt. No. 225)
Northern District of California
  United States District Court




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                                  13          Now before the Court is a stipulation to modify the case schedule set on January 9, 2023.
                                  14   Docket No. 225. The Court is not inclined to modify the trial date currently set for January 27,
                                  15   2025. The Court’s tentative schedule is below. The parties may stipulate to modify the tentative
                                  16   case deadlines so long as the trial date is not modified and (1) there are at least four weeks
                                  17   between the filing date for Defendants’ reply in support of their cross-dispositive motion and
                                  18   related Daubert motions and the hearing on all dispositive motions and related Daubert motions;
                                  19   (2) there are at least six weeks between the pretrial conference and the first day of trial; and (3)
                                  20   motions in limine are not filed later than November 22, 2024, oppositions to motions in limine are
                                  21   not filed later than December 6, 2024, and there is at least one week between the filing date for
                                  22   oppositions to motions in limine and the pretrial conference.
                                  23          The Court added deadlines for filing replies in support of the Daubert motions relating to
                                  24   class certification. Each opening brief in support of a Daubert motion relating to class
                                  25   certification shall not exceed twenty pages; each opposition to a Daubert motion relating to class
                                  26   certification shall not exceed twenty pages; and each reply in support of a Daubert motion relating
                                  27   to class certification shall not exceed ten pages. The Court also added page limits for the briefing
                                  28   in connection with dispositive motions.
                                   1           The Court intends to order the parties to engage in settlement discussions. Within fourteen

                                   2   days of the date this order is filed, the parties shall file a joint statement reporting on the efforts

                                   3   they have made and propose to make toward a partial or full settlement of the claims in this action.

                                   4                                                                                    THE COURT’S
                                       EVENT                                               CURRENT DATE
                                                                                                                        TENTATIVE DATE
                                   5
                                       Class Certification Opposition and                  April 14, 2023
                                   6   Supporting Expert Reports, and                      [no Dauberts                 4/28/23
                                       Defendants’ Daubert Motion                          scheduled]
                                   7

                                   8   Deadline to Depose Defendants’ Class
                                                                                           5/29/23                      6/12/23
                                       Experts
                                   9
                                       Class Certification Reply and Expert
Northern District of California
  United States District Court




                                  10                                                       June 30, 2023
                                       Rebuttal Report, Plaintiffs’ Opposition to
                                                                                           [no Dauberts                 7/21/23
                                       Defendants’ Daubert Motion, Plaintiffs’
                                  11                                                       scheduled]
                                       Daubert Motion
                                  12
                                                                                                                        No supplemental
                                                                                           No supplemental
                                  13                                                                                    depositions shall be
                                                                                           depositions shall be
                                       Deadline for Supplemental Depositions of                                         permitted without
                                  14                                                       permitted without
                                       Plaintiffs’ Class Experts                                                        agreement of the
                                                                                           agreement of the parties
                                                                                                                        parties or leave of the
                                  15                                                       or leave of the Court
                                                                                                                        Court
                                  16
                                       Defendants’ Opposition to Plaintiffs’
                                                                                           [no Dauberts
                                  17   Daubert Motion and Defendants' Reply in                                          8/11/23
                                                                                           scheduled]
                                       Support of Defendants' Daubert Motion
                                  18
                                       Plaintiffs' Reply in Support of Plaintiffs'
                                  19                                                       N/A                          9/1/23
                                       Daubert motion
                                  20                                                       July 20, 2023 at 2:30
                                       Hearing on Class Certification and
                                  21                                                       p.m. or at the Court’s       9/21/23 at 2:30 p.m.
                                       Daubert Motions
                                                                                           convenience
                                  22
                                       Merits Discovery Cut-Off                            9/27/23                      10/27/23
                                  23
                                       Merits Expert Disclosure (Including
                                  24   Reports) on Issues at to Which Party Bears          11/1/23                      12/1/23
                                       the Burden at Trial
                                  25

                                  26   Merits Expert Response                              12/28/23                     1/26/24

                                  27   Merits Expert Reply                                 1/24/24                      2/23/24

                                  28   Expert Discovery Cut-Off                            2/28/24                      3/15/24
                                                                                           2
                                   1   Plaintiffs’ Dispositive Motion and Daubert
                                       Motions (to be filed in a single brief not to      4/3/24                     4/3/24
                                   2   exceed 50 pages)
                                   3   Defendants’ (1) Opposition to Plaintiffs’
                                       Dispositive Motion and Daubert Motions
                                   4
                                       and (2) Cross-Dispositive Motion and               5/17/24                    5/17/24
                                   5   Daubert Motions (to be filed in a single brief
                                       not to exceed 70 pages)
                                   6
                                       Plaintiffs’ (1) Reply in Support of their
                                   7   Dispositive Motion and Daubert Motions
                                       and (2) Opposition to Defendants’
                                   8                                                      6/28/24                    6/28/24
                                       Cross-Dispositive Motion and Daubert
                                   9   Motions (to be filed in a single brief not to
                                       exceed 80 pages)
  United States District Court
Northern District of California




                                  10
                                       Defendants’ Reply in Support of their
                                  11   Cross-Dispositive Motion and Daubert
                                                                                          7/26/24                    7/26/24
                                       Motions (to be filed in a single brief not to
                                  12
                                       exceed 60 pages)
                                  13
                                       Hearing on All Dispositive and Daubert             September 19, 2024 at
                                                                                                                     September 19, 2024 at
                                  14   Motions and Further Case Management                2:30 p.m. or at the
                                                                                                                     2:30 p.m.
                                       Conference                                         Court’s convenience
                                  15
                                                                                                                     Two weeks after the
                                  16                                                                                 Court issues a ruling on
                                       Deadline for each side to file motions in
                                  17                                                      N/A                        the dispositive motions
                                       limine in a single brief not to exceed 25 pages
                                                                                                                     but not later than
                                  18                                                                                 11/22/24

                                  19                                                                                 Two weeks after
                                       Deadline for each side to file oppositions to
                                                                                                                     motions in limine are
                                  20   other side’s motions in limine in a single brief   N/A
                                                                                                                     filed but not later than
                                       not to exceed 25 pages
                                                                                                                     12/6/24
                                  21

                                  22   Pretrial conference                                N/A                        12/16/24

                                  23   Trial Date                                         1/27/25                    1/27/25

                                  24

                                  25          IT IS SO ORDERED.
                                  26   Dated: March 27, 2023
                                                                                              CLAUDIA WILKEN
                                  27                                                          United States District Judge
                                  28
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